Case 4:23-cv-00288-P Document 56<iled:06/26/23 Page 10f 4 PagelD 305
Ede \2)

PHIL SORRELLS

Criminal District Attorney
Tarrant County

June 22, 2023

Mr. Congua Yan Via Regular U.S. Mail

2140 E. Southlake Blvd.
Suite L-439
Southlake, Texas 76092

Re: Case No. 4:23-cv-288-P; Yan v. Mark Taylor, et al.
Dear Mr. Yan:

Enclosed please find the Waivers of Service of Summons for the following individuals who I
am representing in this matter:

1. Mark Taylor
2. David Bennett
3. Richard Harwell

Thank you for your attention to this matter.
Sincerely,

Phil Sorrells
Criminal District Attorney
Tarrant County, Texas

M. KEITH OGLE
Assistant Criminal District Attorney

MKO/psm
Enclosures as stated

401 West Belknap ° Fort Worth, Texas 76196 *° 817.884.1400 «  cda.tarrantcounty.com
Cas

e 4:
Case 4:2

Bo REE By OCT ot UR PBST 3 TBM Ute AQHA
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

4 DIVISION

WAIVER OF SERVICE OF SUMMONS

FIRST AMENDED COMPLAINT FOR FACIAL CONSTITUTIONAL CHALLENGE
AND DECLARATORY RELIEF AND INJUNCTIVE RELIEF AND DAMAGE CLAIM

RE: Caption of Action: | AND JURY DEMAND

Case Number: 4-23CV-288-P

TO: CONGHUA YAN

(Name of Plaintiffs Attorney or Unrepresented Plaintiff)

Iacknowledge receipt of your request that I waive service of a summons in the action stated
above, which was filed in the United States District Court for the Northern District of Texas. I have
also received a copy of the complaint in the action, two copies of this Instrument, and a means by
which I can return the signed waiver to you without cost to me.

I agree to save the cost of service of a summons and an additional copy of the complaint in
this lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with judicial
process in the manner provided by Rule 4.

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
lawsuit or to the jurisdiction or venue of the Court except for objections based on a defect in the
summons or in the service of the summons.

I understand that a judgment may be entered against me (or the party on whose behalf I] am
acting) if an answer or motion under Rule 12 is not served upon you within 60 days after the date
the request was sent, which was__ June 08, 2023 , or within 90 days after that date if
the request was sent outside the United States.

Dat Si

Ty He Tah AS

Printed/Typed Name

For Defendant

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving costs of service of the
summons and complaint. A defendant located in the United States who after being notified of an action and asked by a plaintiff
located in the United States to waive service of a summons, fails to do so will be required to bear the cost of such service unless good
cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded or that the action
has been brought in an improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or
property. A party who waives service of the summons retains all defenses and objections (except any relating to the summons or to
the service of the summons), and may later object to the jurisdiction of the Court or to the place where the action has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiffs attorney (or
unrepresented plaintiff) a response to the complaint and must also file a signed copy of the response with the Court. If the answer
or motion is not served within this time, a default judgment may be taken against that defendant. By waiving service, a defendant is
allowed more time to answer than if the summons had been actually served when the request for waiver of service was received. .

\

— ==, — Tc
Case 4:23-cv-00288-P Document 56 Filed 06/26/23 Page 3of4 PagelD 307

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
4 DIVISION

WAIVER OF SERVICE OF SUMMONS

FIRST AMENDED COMPLAINT FOR FACIAL CONSTITUTIONAL CHALLENGE
AND DECLARATORY RELIEF AND INJUNCTIVE RELIEF AND DAMAGE CLAIM

RE: Caption of Action: | AND JURY DEMAND

Case Number: 4-23CV-288-P

TO: CONGHUA YAN

(Name of Plaintiff's Attorney or Unrepresented Plaintiff)

I acknowledge receipt of your request that I waive service of a summons in the action stated
above, which was filed in the United States District Court for the Northern District of Texas. I have
also received a copy of the complaint in the action, two copies of this Instrument, and a means by
which I can return the signed waiver to you without cost to me.

I agree to save the cost of service of a summons and an additional copy of the complaint in
this lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with judicial
process in the manner provided by Rule 4.

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
lawsuit or to the jurisdiction or venue of the Court except for objections based on a defect in the
summons or in the service of the summons.

I understand that a judgment may be entered against me (or the party on whose behalf Iam
acting) if an answer or motion under Rule 12 is not served upon you within 60 days after the date
the request was sent, which was __ June 08, 2023 , or within 90 days after that date if
the request was sent outside the United States.

lohy/23 a

Date Siffature
Dov tf) fe PULTE ty
Printed/Typed Name

For Defendant

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving costs of service of the
summons and complaint. A defendant located in the United States who after being notified of an action and asked by a plaintiff
located in the United States to waive service of a summons, fails to do so will be required to bear the cost of such service unless good
cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded or that the action
has been brought in an improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or
property. A party who waives service of the summons retains all defenses and objections (except any relating to the summons or to
the service of the summons), and may later object to the jurisdiction of the Court or to the place where the action has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiffs attorney (or
unrepresented plaintiff) a response to the complaint and must also file a signed copy of the response with the Court. If the answer
or motion is not served within this time, a default judgment may be taken against that defendant. By waiving service, a defendant is
allowed more time to answer than if the summons had been actually served when the request for waiver of service was received. ..
Case 4:23-cv-00288-P Document 56 Filed 06/26/23 Page 4of4 PagelD 308

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
4 DIVISION

WAIVER OF SERVICE OF SUMMONS

FIRST AMENDED COMPLAINT FOR FACIAL CONSTITUTIONAL CHALLENGE
AND DECLARATORY RELIEF AND INJUNCTIVE RELIEF AND DAMAGE CLAIM

RE: Caption of Action: | AND JURY DEMAND

Case Number: 4-23CV-288-P

CONGHUA YAN

(Name of Plaintiffs Attorney or Unrepresented Plaintiff)

TO:

I acknowledge receipt of your request that I waive service of a summons in the action stated
above, which was filed in the United States District Court for the Northern District of Texas. I have
also received a copy of the complaint in the action, two copies of this Instrument, and a means by
which I can return the signed waiver to you without cost to me.

I agree to save the cost of service of a summons and an additional copy of the complaint in
this lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with judicial
process in the manner provided by Rule 4.

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
lawsuit or to the jurisdiction or venue of the Court except for objections based on a defect in the
summons or in the service of the summons.

I understand that a judgment may be entered against me (or the party on whose behalf I am
acting) if an answer or motion under Rule 12 is not served upon you within 60 days after the date
the request was sent, which was __ June 08, 2023 , or within 90 days after that date if
the request was sent outside the United States.

Signature

of

4 4 f if Pp
Richart) Hert;
Printed/Typed Name

For Defendant

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving costs of service of the
summons and complaint. A defendant located in the United States who after being notified of an action and asked by a plaintiff
located in the United States to waive service of a summons, fails to do so will be required to bear the cost of such service unless good
cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded or that the action
has been brought in an improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or
property. A party who waives service of the summons retains all defenses and objections (except any relating to the summons or to
the service of the summons), and may later object to the jurisdiction of the Court or to the place where the action has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiffs attorney (or
unrepresented plaintiff) a response to the complaint and must also file a signed copy of the response with the Court. If the answer
or motion is not served within this time, a default judgment may be taken against that defendant. By waiving service, a defendant is
allowed more time to answer than if the summons had been actually served when the request for waiver of service was received. ..
